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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                                   ORDER
                             Plaintiff,
                                                                  08-cr-87-bbc
              v.

JARRELL A. MURRAY,

                             Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       Defendant Jarrell A Murray has asked to have the transcripts of his plea hearing and

sentencing in this case prepared at government expense. In support of his request, he has

advised the court that he will be filing a post conviction motion under 28 U.S.C. § 2255,

alleging ineffective assistance of counsel with respect to his criminal history and his criminal

history classification. Defendant is entitled to have these transcripts prepared if he can

persuade the trial judge that his motion is not frivolous and that the transcripts are necessary

to the motion. 28 U.S.C. § 753(f).

       At the present time, I cannot make the necessary finding that defendant’s planned

post conviction motion would not be frivolous. Defendant has said only that he wishes to

allege ineffectiveness of counsel; he has not provided any reasons for thinking that his


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counsel was ineffective.   For example, if he thinks that counsel was ineffective in not

challenging his criminal history score, he should be able to identify some prior conviction

that he thinks should not be included in the calculation of that score or, if he thinks he

should not have been classified as a career offender, he should explain which of his two prior

convictions for crimes of violence or controlled substances should not have been taken into

consideration. A mere allegation of ineffectiveness does not demonstrate that there is any

merit to defendant’s post conviction motion.




                                          ORDER

       Defendant Jarrell A. Murray’s motion for the preparation of transcripts at government

expense is DENIED without prejudice for his failure to show that he has a non-frivolous

motion he wishes to bring and that the transcripts are necessary to support his motion.

       Entered this 8th day of April, 2010.

                                           BY THE COURT:
                                           /s/
                                           BARBARA B. CRABB
                                           District Judge




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